              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                          TIMOTHY BRADLEY,

                                Appellant,

                                    v.

                          STATE OF FLORIDA,

                                 Appellee.


                            No. 2D2023-0348



                             August 23, 2024

Appeal from the County Court for Pasco County; Anne Wansboro, Judge.

Howard L. Dimmig, II, Public Defender, and Caroline Joan S. Picart,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Sonia C. Lawson,
Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

     Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior publication.
